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                      IN THE UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                 Crim. No. 21cr268
                                    )                 Hon. Carl J. Nichols
JEFFREY McKELLOP,                   )
      Defendant.                    )
____________________________________)

                    DEFENDANT’S EMERGENCY MOTION FOR RELIEF

       Comes now Defendant Jeffrey McKellop, by counsel, and moves the Court for

emergency relief.

       Undersigned was informed yesterday by the government that the government yesterday

executed a search of Defendant’s cell at the Central Detention Facility (“CTF”) of the D.C. Jail.

Undersigned had no advance notice of the search. The warrant for the search was secured from a

Magistrate Judge as opposed to the District Judge presiding over this case since its indictment.

       As of the time of the search, Defendant had been engaged for some time in the

formulation of notes at the behest of undersigned for use in the preparation of his defense.

Consequently, an indeterminate amount of the documents seized constitute Work Product and/or

Attorney-Client Communication.

       Undersigned has requested from the government, but has not received, a copy of the

affidavit tendered in support of the application for the search warrant.

       Wherefore, Defendant requests that the government be enjoined immediately from any

review of the seized documents until the Court can convoke a hearing to determine:

               a. The how and why of the government’s decision to seek the warrant;




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               b. The best means of accomplishing a review of the seized documents for
                  purposes of safeguarding Defendant’s privileges and Fourth Amendment
                  rights (e.g., the appointment of a panel of individuals not currently employed
                  by or serving in the government to conduct a review under the Court’s
                  auspices, said cadre to include undersigned); and

               c. Any other appropriate relief.

       Further, Defendant requests that the government be ordered immediately to disclose the

affidavit tendered in support of the application for the search warrant.

                                                      Respectfully submitted,

                                                      JEFFREY McKELLOP
                                                      By Counsel

                                                      _____/s/____________
                                                      John C. Kiyonaga

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                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on May 17, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.

                                                      ____/s/_____________
                                                      John C. Kiyonaga




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